Case 2:02-cv-02177-.]PI\/|-STA Document 94 Filed 08/30/05 Page 1 of 2 Page|D 176

 

IN THE UNITED STATES DISTRICT COURT qumL_ _WH__B£
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION 05 AUG 30 AH 63 sh
m';g§;a 1.
DONALD R. DEPRIEST, USQD§&%%MH
W OFTN. MEMPHS

Plaintiff,

v.
NO. 02-2177 Ml/An
ELLEN H. HARDYMDN and MSB

FINANCIAL SERVICES CORPORATION,

Defandants.

vvvvvvvvvv

 

JUDGMENT

 

JUDGMENT BY COURT. This action having come before the Court on
Defendant's Motion for Attorneys’ Fees, the issues having been
considered, and a decision rendered,

IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that, in
accordance with the Order Granting Defendant MSB Financial
Services Corporation's Motion for Attorneys' Fees, entered August

, 2005, a judgment for attorneys' fees and costs in the
amount of $38,249.77 is hereby entered in favor of Defendant MSB
Financial Services Corporation and against Plaintiff Donald R.
DePriest.

APPROVED:
QO°@ §

JO P. MCCALLA
U ITED STATES DISTRICT COURT

HL\‘\ZQ 2005 nwAsM.GO\JLD

 

 

 

 

Date Clerk of Court
0 ‘ l
(B ) Deputy Clerk

Fh!s document entered on the docket hee f com fiance
With Rule 58 and/or 79(a) FHCP on g '35'0;

 

 

Notice of Distribution

ThiS notice confirms a copy of the document docketed as number 94 in
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Honorable J on McCalla
US DISTRICT COURT

